Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 1 of 20 PageID #: 7




                  EXHIBIT 1
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 2 of 20 PageID #: 8
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 (12) United States Patent                                                      (10) Patent No.:                     US 6,891,633 B1
        Hayward et al.                                                          (45) Date of Patent:                              May 10, 2005

 (54) IMAGE TRANSFER SYSTEM                                                         5,905,866 A * 5/1999 Nakabayashi et al. ...... 709/223
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                        Marc J. Krolczyk, Rochester, NY                             SE A :
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                        patent is extended or adjusted under 35                     6,546.002 B1 * 4/2003 Kim ................. ... 370/351
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 (21) Appl.
        ppl. No.:
             No.: 09/364,959                                                      6,741,262 B1 5/2004 Munson et al. ............. 34.5/594
                         9                                                   * cited by examiner
 (22) Filed:      Jul. 30, 1999
              7                                                              Primary Examiner Madeleine Nguyen
 (51) Int. Cl." ........................... GO6F 1300s                 %     (74) Attorney, Agent, or Firm-Perman & Green, LLP
 (52) U.S. Cl. ....................... 358/1.15; 358/442; 715/825            (57)                         ABSTRACT
 (58) Field of Search ................................ 358/1.15, 442,        An electronic assembly comprising an image transfer device
                       358/1.1, 1.17, 468, 5....'s                           for reading and transferring an image from a first medium,
                                                       s           s         and a computer. The image transfer device includes a reader
 (56)                      References Cited                                  for reading the image on the first medium, and a display for
                                                                             displaying an image transfer menu for affecting transfer of
                     U.S. PATENT DOCUMENTS                                   the image. The computer is removably connected to the
        4,870,357 A * 9/1989 Young et al. ............... 324/158
                                                                             image transfer device. When the image transfer device is not
        5,021,892    A   6/1991 Kita et al. ..................   358/468     connected to the computer, the image transfer device has a
        5,048,078    A * 9/1991 Satomi et al. ..............     379/100     first type of the image transfer menu available for display on
        5,084875     A   1/1992 Weinberger et al. ........       371/291     the display of the device. When the image transfer device is
        5,270,821.   A 12/1993 Samuels .....................     358/188     connected to the computer, the transfer device has a Second
        5,412,779 A * 5/1995 Motoyama .................. 395/275             type of the image transfer menu available for display on the
        5,499,108 A         3/1996 Cotte ......................... 358/400   display of the device. The Second type of menu includes
        5,550,649 A * 8/1996 Wong et al. ................ 358/479            enhanced features for operating the image transfer device
        5,592,307 A * 1/1997 Murai ........................ 358/468          which transparently use the computer processor and memory
        5,608.546 A * 3/1997 Nakamura et al. .......... 358/468              to effect an image transfer according to the enhanced fea
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Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 3 of 20 PageID #: 9


 U.S. Patent           May 10, 2005   Sheet 1 of 8        US 6,891,633 B1




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Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 4 of 20 PageID #: 10


 U.S. Patent          May 10, 2005     Sheet 2 of 8            US 6,891,633 B1




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Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 5 of 20 PageID #: 11
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Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 7 of 20 PageID #: 13


 U.S. Patent           May 10, 2005                   Sheet 5 of 8                        US 6,891,633 B1




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Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 8 of 20 PageID #: 14
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 9 of 20 PageID #: 15
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 10 of 20 PageID #: 16
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 11 of 20 PageID #: 17


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                IMAGE TRANSFER SYSTEM                                  the apparatus. The Second menu comprises extended fea
                                                                       tures for operating the apparatus in comparison to the first
                                                                         CU.
           BACKGROUND OF THE INVENTION                                    In accordance with a first method of the present invention,
    1. Field of the Invention
                                                                       a method for transferring information from a first medium is
                                                                       provided. The method comprises the Steps of providing an
     The present invention relates to an image transfer System         image transfer device, reading the image on the first
  and, more particularly, to an image transfer System com              medium, Sending the image from the transfer device to a
  prising a transfer device which can be operably connected to         computer, automatically manipulating the image, and auto
  a computer.                                                          matically Sending the manipulated image from the computer
    2. Prior Art                                                       to the transfer device. The image transfer device has a
                                                                       Scanner for reading an image on the first medium. The
     There are examples in the prior art of image transfer             manipulated image is Sent from the computer to the transfer
  Systems comprising an image transfer device coupled to one           device without user interaction with the computer. The
  or more computers. One such example is U.S. Pat. No.                 manipulated image is transferred from the transfer device to
  5,798,738 which provides a copying machine print manager        15   a Second medium.
  System which comprises a terminal connected to a copying                In accordance with a Second method of the present
  machine. Generally, copying machines in the prior are                invention, a method for enhancing operating features of a
  capable of performing only a given Set of functions regard           transfer device is provided. The transfer device is adapted
  less of whether the copying machine is connected to a                for transferring information from a first medium to a Second
  computer or not.                                                     medium. The method comprises the Steps of providing a first
    One object of the present invention is to provide a                command menu of the transfer device, connecting a com
  Software and user interface (UI) Solution for enriching              puter to the transfer device, and with the computer enabling
  personal and desktop copier feature Sets by utilizing the            the device to display a Second command menu. The first
  processing power and memory capacity of a connected                  command menu represents a first Set of the operating fea
                                                                  25   tures of the transfer device. The first menu is available for
  personal computer. In accordance with this goal, the present         display on a display of the device when the computer is not
  invention addresses the Software and UI enablers that allow
  a document to be Scanned at the multifunction device; the            connected to the transfer device. When the computer is
  device sending the data to the PC to perform enriched                connected to the transfer device, the computer enables the
  copier/printer capabilities Such as collation. The PC per            device to display the Second command menu. The Second
  forms the enriched task and Sends the new instructions back          command menu represents a Second Set of the operating
  to the multifunction device for output. Another object of the        features of the transfer device. The Second Set of operating
  present invention provides for initiation of the job to take         features has expanded operating features in comparison to
  place at the device, so the user need not know the PC is             the first Set of operating features of the transfer device.
  involved in the process. This invention also addresses fea      35
                                                                               BRIEF DESCRIPTION OF THE DRAWINGS
  ture buttons embedded in an UI display on the device which             The foregoing aspects and other features of the present
  are visible and operational when a PC is connected to the                invention are explained in the following description,
  device, and the underlying Software that would enable them.              taken in connection with the accompanying drawings,
             SUMMARY OF THE INVENTION                                       wherein:
                                                                  40      FIG. 1 is a Schematic diagram of an image transfer System
     In accordance with the first embodiment of the present            incorporating features of the present invention;
  invention, an electronic assembly is provided. The electronic           FIG. 2 is a Schematic diagram showing a computer, and
  assembly comprises an image transfer device for reading              the display, user interface, processor, and memory of an
  and transferring an image from a first medium, and a                 image transfer device of the image transfer System shown in
  computer. The image transfer device includes a reader for       45   FIG. 1;
  reading the image on the first medium, and a display. The               FIG. 3 is a Schematic diagram of the computer, and the
  display displays an image transfer menu for effecting trans          display, user interface, processor, and memory of the image
  fer of the image. The computer is removably connected to             transfer device of the system shown in FIG. 1, in accordance
  the image transfer device. When the image transfer device is         with one embodiment of the present invention;
  not connected to the computer, the image transfer device has    50      FIGS. 4-4A are flow charts which graphically illustrate a
  a first type of the image transfer menu available for display        first method in accordance with the present invention for
  on the display of the device. When the image transfer device         providing the image transfer device with an enhanced oper
  is connected to the computer, the transfer device has a              ating menu;
  Second type of the image transfer menu available for display            FIG. 5 is a Schematic diagram of the computer, and the
  on the display of the device.                                   55   display, user interface, processor, and memory of the image
     In accordance with a Second embodiment of the present             transfer device of the system shown in FIG. 1, in accordance
  invention, a transfer apparatus is provided. The transfer            with a Second embodiment of the present invention;
  apparatus has a reader for Scanning information disposed on            FIG. 6 is a flow chart which illustrates a second method
  a first medium, and a controller connected to the reader. The        in accordance with the present invention for providing the
  transfer apparatus comprises a connector, and a display. The    60   image transfer device with an enhanced operating menu;
  connector is connected to the controller for removably                  FIG. 7 is a Schematic diagram of the computer, and the
  connecting a computer to the transfer apparatus. The display         display, user interface, processor, and memory of the image
  is connected to the controller for displaying menus com              transfer device of the system shown in FIG. 1, in accordance
  prising features for operating the transfer apparatus. The           with a third embodiment of the present invention;
  display displays a first one of the menus when the computer     65     FIG. 8 is a flow chart which illustrates a third method in
  is not connected to the apparatus. The display displays a            accordance with the present invention for providing the
  Second one of the menus when the computer is connected to            image transfer device with an enhanced operating menu, and
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 12 of 20 PageID #: 18


                                                        US 6,891,633 B1
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     FIG. 9 is a flow chart which illustrates an image transfer               In particular, the reader 18 of the device 12 is preferably
  procedure performed with the image transfer System shown                 an optical Scanner capable of reading an image or pattern
  in FIG. 1 in accordance with the present invention.                      embodying information which is disposed on sheet medium
             DETAILED DESCRIPTION OF THE                                   100. In the preferred embodiment, the device 12 has an input
               PREFERRED EMBODIMENT                                        area 40 in which the user places the sheet medium 100 for
                                                                           reading by the reader 18. The input area generally includes
     Referring to FIG. 1, there is shown a Schematic diagram               a cover 41 for covering a glass platen (not shown) upon
  of an image transfer System 10 incorporating features of the             which the user places the sheet medium 100 with the image
  present invention. Although the present invention will be                face 100A down. The user may place the sheet medium 100
  described with reference to the single embodiment shown in               directly on the glass platen or may use a roller System (not
  the drawings, it should be understood that the present                   shown) within the cover 41 to feed the sheet medium 100 to
  invention can be embodied in many alternate forms of                     the glass platen from an input port 40I. The reader 18 is
  embodiments. In addition, any Suitable size, shape or type of            generally located below the glass platen of the input area 40.
  elements or materials could be used.                                     The reader 18 is orientated relative to the glass platen to Scan
    Still referring to FIG. 1, the image transfer system 10                the surface 100A of the sheet medium 100 placed against the
  generally includes an image transfer device 12 and a com            15   glass platen. In the preferred embodiment, the reader 18 is
  puter 14. The computer 14 is connected to the image transfer             a movable reader which operates to optically Scan the
  device 12 by a cable 36 which is removably mated to a                    surface 100A of the sheet medium 100 placed on the glass
  connector 16 of the device 12. The image transfer device 12              platen. For example, the reader 18 may travel along the
  generally comprises a reader 18, a central processing unit               length of the sheet medium 100 while scanning laterally
  (CPU) 20, a memory 22, a display 24 and a user interface                 across the face 100A of the sheet medium 100. In alternate
  (UI) 26. Preferably, the device 12 also includes a print head            embodiments, the device may have a Static reader. In that
  28 and a communication device 30. The reader 18 is adapted               case, a roller System may transport the sheet medium from
  to read a printed image on medium 100. The print head 28                 the input area over the Static reader in order for the reader to
  is adapted to print an image on medium 102. The commu                    read the image on the sheet medium. After the reader 18 has
  nication device 30 is adapted to transmit and receive images        25   finished reading the images on the sheet medium 100, the
  between the device 12 and one or more image transfer                     sheet medium can be removed manually or output by the
  devices 300 located at remote locations. The reader 18, print            roller system (not shown) to an output port 40P of the device
  head 28, and communication device 30 are connected So that               12. During operation, the reader 18 converts the printed
  the reader 18 can send information to both the print head 28             image on the sheet medium 100 to binary encoded data
  and the communication device 30. The communication                       which can be sent electronically, as directed by the CPU20
  device 30 can also send information to the print head 28. The            to the print head 28, or the communication device 30.
  CPU20 is connected to the reader 18, the print head 28, and                 The print head 28 is generally capable of receiving an
  the communication device 30. The CPU 20 is capable of                    image in the form of binary data and of printing the image
  controlling the operation of the reader 18, the print head 28,           on sheet medium 102. The device 12 has an input area 42 for
  and the communication device 30 in response to commands             35   placing sheet medium 102 prior to printing. An output area
  from a user. The user enters commands via the user interface             44 holds the sheet medium 102 processed by the print head
  26 which is connected to the CPU 20. The user selects the                28. A sheet medium transport System (not shown), Such as a
  commands from a menu displayed on the display 24 of the                  roller system for example, inside the device 12 withdraws
  device 12. The CPU 20 of the image transfer device 12 is                 sheet medium 102 from the input area 42 and transports the
  connected to the connector 16. The reader 18, print head 28,        40   sheet medium 102 to the print head 28. The print head 24
  and communication device 30 are also connected to con                    prints the image on the sheet medium 102 and the transport
  nector 16. The computer 14 generally includes a processor                system then moves the sheet medium 102 to the output area
  32 and a memory 34. The computer 14 may be part of a local               44 of the device 12.
  area network (not shown). When the computer 14 is con                       The communication device 30 is generally a facsimile
  nected via cable 36 to the connector 16, the CPU 20 can             45   transceiver or modem which is coupled to a communication
  access the computer processor 32 and memory 34. Also,                    line 302 connecting the device 12 to other image transfer
  when the cable 36 is connected to the connector 16, the                  devices 300. The communication line 302 may a land line
  reader 18, the print head 28, and the communication device               Such as for example a public Switched telephone network
  30 are connected to the computer 14. This allows the reader              (PSTN) or a local area network (LAN) line to which the
  18 to send information to the computer 14, and allows the           50   other transfer devices 300 are connected. However, in alter
  computer 14 to send information to the print head 28 and                 nate embodiments, the communication device may include
  communication device 30 of the image transfer device 12.                 the capability to communicate with the other image transfer
  Thus, the image transfer device may include a computer                   devices over a cellular telephone network.
  printer, a copier, a facsimile or an optical Scanner capability.            The communication device 30 is otherwise adapted to
  In the preferred embodiment, the image transfer device 12           55   receive the binary data of the image read by the reader 18
  performs as a multi-function device which includes one or                and generate Signals transmitting the image over the com
  more of the aforementioned capabilities. In alternate                    munication line 302 to one or more designated image
  embodiments the device may have more or less than these                  transfer devices 300. The image transfer devices 300 which
  four capabilities. The multi-function device 12 of the present           receive the Signals may then reproduce the transmitted
  invention is capable of operating, at least partially, as a Stand   60   image. The communication device 30 can in turn receive
  alone device when the computer 14 is not connected to the                images over the communication line 302 from the image
  device 12, Such as only a copier and/or only a facsimile                 transfer devices 300. The communication device 30
  machine. When the computer 14 is connected to the device                 demodulates the Signals forming the images and then may
  12, the device 12 may use the software and memory of the                 send the data as directed by the CPU20 to the print head 28
  computer 14 to perform one or more of the enhanced or               65   for printing the images on Sheet medium 102.
  extended capabilities of the device 12 as will be described in              The connector 16 of the image transfer device 12 is
  greater detail below.                                                    preferably a universal bus connector. In alternate
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 13 of 20 PageID #: 19


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  embodiments, the connector of the image transfer device               46C which indicate to the user various housekeeping func
  may be a parallel port connector. The cable 36 for connect            tions of the device 12. Such indicia may include for
  ing the computer 14 to the device 12 has a connectorized end          example, a Symbol indicating that a paper jam has occurred,
  37 adapted to be removably mated to the serial port con               or a symbol indicating that maintenance should be per
  nector 16. The opposite end 38 of the cable 36, which end             formed on a portion of the device 12 Such as the reader 18
  is preferably also connectorized, is connected to a Suitable          or the print head 24. The CPU 20 may be programmed to
  input/output port (not shown) of the computer 14. When the            control the LCD pixels of the display 24 to also display
  computer 14 is connected via cable 36 to the device 12,               messages. The CPU20 is further programmed to display an
  image data can be sent from the reader 18 to the computer             operating menu 48 on the display 24 of the transfer device
  14. In addition, when the computer 14 is connected to the             12. The operating menu comprises commands which des
  device 12, data of an image formed with the computer 14 can           ignate functions of the device 12. In the preferred
  be sent from the computer 14 to the print head 28 of the              embodiment, the LCD display 24 of the device 12 incorpo
  device 12. Furthermore, image data generated with the                 rates an active or touch display 50. The CPU20 displays the
  computer 14 may also be sent to the communication device              operating menu 48 of the device within the touch display 50.
  30 for transmission over communication line 302 to one or        15   The operating menu 48 includes feature or command buttons
  more of the image transfer devices 300. Conversely, image             52 disposed on the touch display 50. The user may activate
  data generated by the communication device 28 of images               and deactivate, one or more of the command buttons 52 by
  received from one of the remote transfer devices 300, may             touching the desired buttons 52 shown on the display 50.
  be sent under the control of the CPU 20 from the commu                The user may also activate or deactivate the command
  nication device 30 to the computer 14.                                buttons 52 of the operating menu by using the user interface
     The CPU20 is programmed to control the operation of the            26 of the device 12. As shown in FIG. 2, the user interface
  reader 18, the print head 28 and the communication device             26 generally includes a numerical keypad 54, a track ball 56
  30. The CPU 20 controls the operational sequence of the               and function keyS 58 corresponding to the command buttons
  reader 18, print head 28 and communication device 30 as               52 of the menu on the touch display 50. The track ball 56
  well as the flow of data therebetween. For example, when         25   allows the user to move a pointer (not shown) which the
  the image transfer device 12 is operating in a copier mode,           CPU20 displays on the display 50. The user may thus select
  the CPU 20 energizes the reader 18 to read the image on               one of the command buttons 52 by moving the pointer to the
  Surface 100A of the sheet medium 100. The CPU 20 directs              desired button and Striking an enter or register key (not
  the data from the reader 18 to the print head 28 and queues           shown) on the user interface 26 which activates or deacti
  the print head to print the image read by the reader 18 on            vates the button 52. The user may also activate or deactivate
  sheet medium 102. Concurrent with this, the CPU also                  a command button 52 by striking a predetermined key 58 on
  operates the transport system transporting the sheet medium           the user interface 26 which corresponds to the desired button
  102 from the input area 42 to the print head 28 and then to           52. In alternate embodiments, the display of the device need
  the output area 44 of the device. When the device 12 is               not be a is touch display, in which case the command
  operating in a facsimile Sending mode, the CPU20 operates        35   features of the operating menu shown on the display may be
  the communication device 30 to make a connection with                 activated and deactivated by using the keys and track ball of
  selected remote devices 300. The CPU20 then energizes the             the user interface. The CPU 20 senses activation or deacti
  reader 18 to read the image on the sheet medium 100 and               Vation of the command buttons 52 and changes the display
  directs the data to the communication device 30 which sends           50 to shown that the selected buttons 52 have been activated
  the data to the remote device 300. In the facsimile standby      40   or deactivated as appropriate. Activation of the command
  mode, the CPU20 operates the communication device 30 to               buttons 52 of the operating menu shown on the display 50
  respond to a connection signal from a remote device 300 and           Sends the commands corresponding to the activated buttons
  form a connection. The CPU20 may then direct the demodu               to the CPU 20 which in turn proceeds to control the
  lated image Signal received by the communication device 32            operation of the device in accordance with the received
  to the print head 28 and queue the print head for printing the   45   commands. Deactivation of the command buttons 52 deletes
  image on sheet medium 102. The CPU 20 also controls                   the corresponding operative commands from the CPU 20.
  operations of the device 12 when the computer 14 is                      The software used by the CPU20 is stored in the memory
  connected to the device. For instance, when the device 12 is          22 of the device 12. In addition to storing the software used
  in a scanner mode, the CPU 20 energizes the reader 18 and             by the CPU20, the memory 22 may also have memory space
  Sends the image data from the reader to the computer. When       50   for Storing data Sent from the reader 18, the communication
  the device 12 is in a printer mode, the CPU 20 queues the             device 30, or the computer 14 when the computer is con
  print head for printing and directs image data from the               nected to the device 12. In general, the Software Stored in the
  computer 14 to the print head 28.                                     memory 22 includes a default or basic program 200 for
     The user uses the display 24 and the user interface 26 to          operating the image transfer device 12. The basic program is
  operate the image transfer device 12. Referring now also to      55   loaded in the CPU20 when the CPU20 is initialized and the
  FIG. 2, the display 24 of the image transfer device 12 is             computer 14 is not connected via cable 36 to connector 16
  preferably a LCD though any other suitable type of display            of the device 12. The basic program 200 has a module 202
  may be used. Operation of the display 24 is controlled by the         which defines the basic operating menu available for display
  CPU 20. The display 24 comprises display zones 46 in                  by the CPU 20 on the display 50 when the computer 14 is
  which the CPU 20 brings up operational and device status         60   not connected to the device 12. The basic program 200 also
  information on the display 24. For example, the CPU20 is              includes a program module 204 which provides instructions
  capable of counting the pages processed by the reader 18 and          to the CPU20 for controlling the functions of the device 12
  the print head 28 and may display the reader page count in            corresponding to the commands within the basic operating
  Zone 46A on the display and the print head page count in                CU.
  Zone 46B of the display 24. The CPU20, in accordance with        65      One example of the features of the basic operating menu
  its programming, may further activate LCD pixels of the               available for display by the CPU20 as defined by program
  display in order to present pre-programmed indicia in Zone            module 202 are listed in Table 1 below.
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 14 of 20 PageID #: 20


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                                                                              nance” includes command options 1-5 which allow the user
                                 TABLE 1.                                     to Select between five device maintenance functions as
                                    I. Mode
                                                                              labeled in Table 1. Selection category V “Defaults” of the
                                                                              basic operating menu listed in Table 1 includes command
                                  1. COPER                                    options 1-5. The first four command options which include:
                                                                              command option 1 “Feature Defaults”; command option 2
                              II. ORIGINALTYPE                                “Program Time-out”; command option 3 "Sleep Mode”; and
  1. AUTO:       2. TEXT       3. PHOTO                                       command option 4 “Paper Size' have two settings. The
                                                                              “Program Time-out”, “Sleep Mode”, and “Paper Size' com
                              III. MAINTENANCE                                mand options have a default Setting indicated by the *
  1. CLEAN       2. PRINT  3. ALIGN           4. RESET    5. INK
                                                                              symbol in Table 1. Selection category VI “Language” of the
  PRINT          TEST PAGE PRINT              PRINTER     LEVELS              “Copier” mode listed in Table 1, includes command options
  HEAD                     HEAD                           A. Black            1-5 which allow the user to select the language used for
                                                          B. Cyan             displaying information on display 24 including the options
                                                          C. Magenta     15   of the operating menu.
                                                          D. Yellow
                                                                                 The “Facsimile” mode of the basic operating menu listed
                               IV. PRINT DEMO                                 in Table 1 includes Substantially the same Selection catego
                                V. DEFAULTS                                   ries as the “Copier” mode of the basic menu. However, the
                                                                              "Facsimile” mode of the basic operating menu also includes
  1. Feature     2. Program    3. Sleep       4. Paper    5. Reset Fac        selection category III “Telephone Numbers' comprising
  Defaults
  A. Some
                 Time-out
                 A. 60 sec.
                               Mode
                               A. 5 min
                                              Size
                                              A. Latter
                                                          tory                command options 1-8. This feature of the basic menu allows
   ew
                                                                              the user to automatically dial from up to, for example, eight
  B. Reset       B. 90 sec.    B. 10 min      B. AA                           telephone numbers stored in the memory 22 of the device
                                                                              12. The features of the basic command menu listed in Table
                                                                         25
                               VI. LANGUAGE                                   1 are merely examples of the type of features which may be
  Language 1 Language 2 Language 3 Language 4 Language 5                      available in the basic operating menu of the device 12. In
                                                                              alternate embodiments, the basic operating menu of the
                                2. FACSMILE                                   image transfer device may include more features or fewer
                              II. ORIGINALTYPE
                                                                              features depending on device characteristics Such as avail
                                                                              able memory Space, capabilities of the CPU and size and
  1. AUTOK       2.TEXT        3. PHOTO                                       type of the display. In other alternate embodiments, the
                                                                              Structure of the basic operating menu of the device need not
                         III. TELEPHONE NUMBERS                               be as shown in Table 1, but rather any Suitable organization
  NO. 1          NO. 2         NO.3           NO. 4       NO. 5          35
                                                                              of the basic operating menu features may be employed.
  NO. 4          NO. 5         NO.6           NO. 7       NO. 8                  The CPU 20 displays the selection categories and com
                                V. DEFAULTS
                                                                              mand options of the basic operating menu listed in Table 1,
                                                                              as command buttons 52 on touch display 50 of the device 12.
  1. Feature     2. AUTO       2. Program     3. Sleep    4. Paper            The command buttons 52 on the touch display 50 have
  Defaults
  A. Some
                 REDAL
                 A.3 min
                               Time-out
                               A. 60 sec.
                                              Mode
                                              A. 5 min
                                                          Size
                                                          A. Latter
                                                                         40   indicia to indicate the Selection category or command option
   ew
                                                                              corresponding to respective buttons 52. The command but
  B. Reset       B.5 min        B. 90 Sec.    B. 10 min   B. AA               tons corresponding to default Settings of the operating menu
                                                                              (see Table 1) may appear when initially displayed in a
                               VI. LANGUAGE                                   manner to indicate to the user that the corresponding com
  Language 1 Language 2 Language 3 Language 4 Language 5                 45   mand options are default options. In the preferred
                                                                              embodiment, the Selection categories of the basic operating
  * Default Settings                                                          menu (i.e. categories I-VI in Table 1) are generally dis
                                                                              played first. The command options within each category are
     As can be seen from Table 1, in the preferred                            hidden when the Selection categories of the operating menu
  embodiment, the Structure of the basic operating menu is               50   are displayed. To display the command options, if any, of a
  generally organized based on Selection categories. Each                     desired Selection category on the display 50, the user touches
  Selection category further includes one or more Selection                   the corresponding command button 52. The CPU 20 then
  command options. For example, the basic operating menu in                   changes the display 50 to show command buttons which
  the preferred embodiment has a Mode Selection category                      represent the command options included in the Selected
  which is labeled as selection category I in Table 1. The Mode          55   category of the operating menu. In alternate embodiments,
  Selection category includes command options for: 1)                         the Structure of the basic operating menu may be displayed
  “Copier”, and 2) “Facsimile” modes which respectively                       in any Suitable manner Such as displaying one or more
  allow the user to Select the operating mode of the device 12                Selection categories and their command options at the same
  as either a copier or facsimile. In the “Copier” mode, the                  time.
  basic operating menu further includes: Selection category II           60     Referring now to FIGS. 1 and 3, in accordance with one
  “Original Type'; selection category III “Maintenance”;                      embodiment of the present invention, an enhanced program
  selection category IV “Print Demo”; selection category V                    210 for operating the image transfer device 12 is Stored in
  “Defaults”; and selection category VI “Language”. Selec                     the memory 22 of the device. (Similar reference numbers are
  tion category II “Original Type' includes: command option                   used in FIGS. 1,3,5 and 7 to designate similar features.) The
  1 “Auto'; command option 2 “Text”; and command option                  65   enhanced program 210 includes a program 212 which
  3 “Photo’, which allow the user to input the type of original               defines an enhanced operating menu to be displayed by the
  to be read by the reader. Selection category III “Mainte                    CPU 20 on the touch portion 50 of the device display 24.
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 15 of 20 PageID #: 21


                                                      US 6,891,633 B1
                                                                                                            10
  Similarly to the default program 200, the enhanced program               One example of the features of the enhanced operating
  210 also includes a program module 214 embodying instruc              menu are listed in the Table 2 below.
  tions for the CPU20 to control the functions of the image
  transfer device 12 corresponding to the commands within                                             TABLE 2
  the enhanced operating menu in program module 212. AS
  will be described in greater detail below, the enhanced                                               I. Mode
  program 210 is available for loading in the CPU20 when the                                          1. COPER
  computer 14 is energized and connected via cable 36 to the
  connector 16A of the device 12. When the cable 36 is not                                        II. ORIGINALTYPE
  connected to connector 16A, or the computer 14 is not                 1. AUTO:     2. TEXT        3. PHOTO
  energized, the enhanced program 210 Stored in the memory
  22A cannot be accessed or loaded in the CPU 20 of the                                           III. MAINTENANCE
  device 12. Thus, the enhanced operating menu defined by
  program module 212 is available to be displayed by the CPU          1. CLEAN
                                                                      PRINT
                                                                                     2. PRINT  3. ALIGN
                                                                                     TEST PAGE PRINT
                                                                                                                  4. RESET
                                                                                                                  PRINTER
                                                                                                                              5. INK
                                                                                                                              LEVELS
  20 on the display 50 of the device 12 when the computer 14       15 HEAD                     HEAD                           A. Black
  is energized and connected to the device 12. Otherwise, the                                                                 B. Cyan
  basic operating menu in program module 202 of the default                                                                   C. Magenta
  program 200 is available for display by the CPU 20.                                                                         D. Yellow
    In this embodiment, the connector 16A includes an elec                                         IV. PRINT DEMO
  tromechanical relay 60 or other suitable Switching device.
  The relay 60 is adapted to be moved to the closed position,                                       V. DEFAULTS
  shown in FIG. 3, when the computer cable 36 is mated to the           1. Feature   2. Program     3. Sleep      4. Paper    5. Reset
  connector 16A and the computer 14 is energized. Otherwise,            Defaults     Time-out       Mode          Size        Factory
  the relay 60 in the connector 16A of the device 12 is in an           A. Some      A. 60 sec.     A. 5 min      A. Latter
  open position (not shown). When the relay 60 is in the closed    25   lew
                                                                        B. Reset     B. 90 sec.     B. 10 min     B. AA
  position, the CPU20 becomes enabled to access and load the
  enhanced program 210 stored in the memory 22A of the                                              VI. LANGUAGE
  device 12 thus making the enhanced operating menu in
  program module 212 available for display.                             Language 1 Language 2 Language 3 Language 4 Language 5
     FIG. 4 is a flow chart which graphically illustrates the                                      VII. COLLATION
  method for providing the device 12 with the enhanced
  operating menu. In block P1 of the flow chart in FIG. 4, the                               VIII. TIME & DATESTAMP
  computer cable 36 is connected to the connector 16A of the                                      DX. COMPANY NAME
  device 12. In block P2, the computer 14 is energized. This
  enables the CPU20 of the device 12 to display the enhanced       35                             X. FDXED MESSAGE
  operating menu on the display 50 of the device as illustrated
  in the flow chart of FIG. 4A. The starting condition in the                                         XI. LOGO
  flow chart of FIG. 4A, represented by O., is that the computer                                XII. PAGENUMBERING
  14 is connected via cable 36 to the device 12 and the
  computer 14 is energized. AS Stated earlier, the relay 60 in     40                             XIII. WATERMARK
  the connector 16A (see FIG.3) moves to the closed position,                                        2. FACSMILE
  block P3 of FIG. 4A, when the computer cable 36 is
  connected to the connector 16A and the computer is ener                                         II. ORIGINALTYPE
  gized. The closing of the relay 16 enables the CPU20 to now
  access and load the enhanced program 212 Stored in the           45 1. AUTOK       2.TEXT         3. PHOTO
  memory 22A of the device. Thus, in block P4 of FIG. 4A,                                    III. TELEPHONE NUMBERS
  the enhanced program 210 which includes program module
  212 for displaying the enhanced operating menu is loaded in           NO. 1        NO. 2          NO. 3         NO. 4       NO. 5
  the CPU20. Preferably, the CPU20 has a loading program                NO. 4        NO. 5          NO.6          NO. 7       NO. 8
  which automatically loads the enhanced program 210 from          50
                                                                                                    V. DEFAULTS
  the memory 22A when the relay 60 is closed. Alternatively,
  after the relay is closed, the user may instruct the CPU via          1. Feature   2. AUTO        2. Program    3. Sleep    4. Paper
  the user interface of the device to load the enhanced program         Defaults
                                                                        A. Some
                                                                                     REDAL
                                                                                     A.3 min
                                                                                                    Time-out
                                                                                                    A. 60 sec.
                                                                                                                  Mode
                                                                                                                  A. 5 min
                                                                                                                              Size
                                                                                                                              A. Latter
  from the memory module. After the enhanced program is                 lew
  loaded in the CPU20, the enhanced operating menu defined         55 B. Reset       B.5 min        B. 90 Sec.    B. 10 min   B. AA
  by program module 212 is then available to be displayed on
  touch display 50 of the device 12. In the preferred                                               VI. LANGUAGE
  embodiment, the user may Select via a button on the touch             Language 1 Language 2 Language 3 Language 4 Language 5
  display 50 or the user interface 26 whether the enhanced
  menu or the basic menu is to be displayed, though in             60                              VII. COLLATION
  alternate embodiments, the enhanced menu may be auto                                       VIII. TIME & DATESTAMP
  matically displayed thereby replacing the basic menu on the
  display. Program module 214 included in the enhanced                                            DX. COMPANY NAME
  program 210 loaded in the CPU 20 provides program
  instructions to the CPU20 so that the CPU is now capable         65                             X. FDXED MESSAGE
  of operating the device 12 according to the features of the
  enhanced operating menu.
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 16 of 20 PageID #: 22


                                                       US 6,891,633 B1
                               11                                                                    12
                                                                         The CPU20 also uploads from the computer memory 34A
                      TABLE 2-continued                                  the coordinate data indicating where the message is to be
                                                                         printed on sheet medium 102. The CPU20 then, in block T4,
                              I. Mode                                    merges the bitmap with the image data from the reader 18 of
                             XI. LOGO                                    the device 12 Such that the image printed by the print head
                                                                         28 on the sheet medium 102, block T5 of FIG. 9, includes
                      XII. PAGENUMBERING                                 the message “Confidential Document” in the desired loca
                        XIII. WATERMARK
                                                                         tion. A similar method may be used to add the time and date
                                                                         Stamp, a company name, a logo or a Watermark to images
                                                                         being transferred from the reader 18 to the print head 28 of
    The features of the enhanced operating menu listed in                the image transfer device 12. Bitmaps may also be added in
  Table 2 are exemplary of the type of features which may be             a Substantially Similar manner to images received by the
  otherwise available to an image transfer device. In alternate          communication device 30 (see FIG. 1) over communication
  embodiments, the enhanced operating menu of the device                 line 302 which are to be printed by the device 12. Preferably,
  may include a greater or a fewer number of features than          15   the uploaded information stays with the device 12 even if the
  those listed in Table 2. AS can be seen from Table 2, the              computer is de-energized or is disconnected from the con
  enhanced operating menu of the image transfer device 12 of             nector 16.
  the present invention has extended features which are not                 Referring now to FIGS. 1 and 5, in accordance with a
  included in the basic operating menu listed in Table 1. In this        Second embodiment of the present invention, the computer
  case, the enhanced menu also includes generally all the                14 of the image transfer system 10 has a processor 32B
  features of the basic operating menu, though in alternate              which is programmed to have a “Plug and Play” polling
  embodiments, the enhanced menu include only Some of the                capability. “Plug and Play” polling allows the computer
  features in the basic operating menu of the device. The                processor 32B to Sense, by means of a polling Signal, when
  extended features of the enhanced operating menu include:              the computer 14 is connected to the image transfer device 12
  selection category VII “Collation'; selection category VIII       25   of the image transfer System. In this embodiment, the
  “Time & Date” stamp; selection category IX “Company                    connector 16B of the device 12 need not include a relay to
  Name'; selection category X “Fixed Message'; selection                 signal the device CPU20 that the computer 14 is connected
  category XI “Logo'; Selection category XII "Page number                to the device 12. Rather, as illustrated in the flow chart of
  ing”; and selection category XIII “Watermark'. Also, the               FIG. 6, in this embodiment when the computer processor
  number of programmable telephone numbers has been                      32B senses that the computer 14 is connected via cable 36
  expanded in comparison to the basic operating menu in                  to the connector 16B of the device 12, block P5, the
  Table 1. The enhanced operating menu may further include               processor 32B sends an electronic signal to the device CPU
  a printer and a Scanner operating mode not shown in Table              20, block P6. The electronic signal enables the CPU20 to
  2. Referring still to FIGS. 1 and 3, the extended selection            load the enhanced program 212 from the memory 22B of the
  categories of the enhanced operating menu appear on the           35   device 12. For example, the CPU 20 may be programmed
  device display 50 as command buttons 52'. Command                      Such that upon receiving the electronic Signal from the
  buttons 52 in the display 50 continue to represent the                 computer 14, the CPU 20 is to initiate its loading program
  Selection categories of the basic operating menu which are             and load the enhanced program 210 from the device memory
  repeated in the enhanced menu being displayed.                         22B. The CPU20 does not load the enhanced program 210
     In this embodiment of the present invention, Some data         40   until it receives the electronic signal from the computer 14.
  used to effect image transfer with device 12 according to the          Alternatively, the computer processor 32B may be pro
  enhanced menu features is stored in the memory 34A of the              grammed to incorporate instructions in the electronic Signal
  computer 14. By way of example, Such data may include                  sent to the CPU 20, upon connection of the cable 36 to the
  bitmaps representing time and date Stamps, fixed messages,             device connector 16B, which instructions program the CPU
  logos or watermarks to the added to the imageS as well as the     45   20 to load the enhanced program 210 from the device
  coordinates for printing the bitmaps on Sheet medium 102               memory 22B. After the enhanced program 210 is loaded in
  (see FIG. 1). In addition, telephone numbers in excess of the          the CPU 20, the enhanced operating menu in program
  number provided with the basic operating menu may also be              module 212 is available for display on display 50 as
  Stored in the computer memory 34A.                                     described previously.
    When an image transfer is to be performed according to          50      FIG.7 shows a schematic diagram of the computer 14 and
  an extended function of the device 12, the CPU20 interfaces            the CPU 20, memory 22C, user interface 26, and display 24
  with the computer 14 to upload the corresponding data from             of the image transfer device 12 in accordance with a third
  the computer memory 34A. This process is illustrated in the            embodiment of the present invention. In this embodiment,
  flow chart shown in FIG. 9. First, in block T1, the user               the enhanced program 210C for operating the image transfer
  Selects the desired features an initializes the device 12 from    55   device 12 is stored in the computer memory 34C. The
  the enhanced operating menu on display 50. For example, in             enhanced program 210C includes the module 212 for dis
  the case where the copier mode of the device 12 is Selected            playing the enhanced menu on the display 50 and the module
  and the user wishes to add a fixed message, Such as                    214 with program instruction for operating the device 12.
  “Confidential Document', to the copied image, the user                 The default program 200 embodying the basic operating
  touches the appropriate command button 52'C (see FIG. 3)          60   menu of the device (program module 202) is stored in the
  representing the "Fixed Message' feature (Selection cat                memory 22C of the device 12. As with the previously
  egory X in Table 2) of the enhanced operating menu. In                 described embodiments of the present invention, the default
  block T2 of FIG. 9, the reader 18 (see also FIG. 1) reads the          program, and hence, the basic menu is loaded in the CPU20
  image on sheet medium 100. Activation of the command                   of the device 12 when the computer 14 is not connected to
  button 52C causes the CPU 20 of the device 12 to upload           65   the device connector 16C. The method in which the
  the bitmap for the message (e.g. "Confidential Document”)              enhanced operating menu is made available for display on
  stored in the computer memory 34A, block T3 of FIG. 9.                 the display 50 of the device 12 is graphically illustrated in
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 17 of 20 PageID #: 23


                                                     US 6,891,633 B1
                              13                                                                    14
  the flow chart of FIG. 8. In this embodiment, the computer              The present invention provides a Stand alone image
  processor 32C has the “Plug and Play” polling capability,            transfer device equipped with minimal memory and pro
  and thus, in block P7 of FIG. 8, the computer processor              cessing capabilities to perform basic image transfer
  Senses when the computer is connected to the device 12.              operations, which when connected to a computer Such as a
  Afterwards, in block P8 the processor 32C uploads the                PC, can be quickly expanded to have an extended number of
  enhanced program 210C, including the module 212 with the             advanced function which generally are not available in an
  enhanced operating menu, to the CPU 20 of the device 12.             image transfer device of that size. The image transfer device
  This enables the CPU20 to display the enhanced operating             in the present invention uses, to its advantage, the larger
  menu stored in the computer memory 34C on the display 50             processing and memory capacity of the computer to carry
  of the device 12. The enhanced operating menu in program             out image transfer functions which otherwise could not be
  module 212 available for display on display 50 has substan           performed using only the in-built capabilities of the image
  tially the same features as listed in Table 2.                       transfer device.
     The program instructions in program module 214 for                  The multi-function device 12 connectable to the PC 14,
  operating the device 12 in accordance with the extended              can operate, at least partially, as a Stand alone device when
  image transfer command options of the enhanced operating        15   not connected to the PC. The multi-function device 12
  menu are also uploaded, at least in part, by the computer            includes a printer, and/or a copier, and/or a facsimile and/or
  processor 32C to the device CPU 20. In this embodiment,              a optical Scanner capability. For example, the device 12 may
  the device CPU 20 may use the computer processor 32C,                be able to function as a fax machine when not connected to
  and memory 3.4C to effect some of the extended image                 the PC 14, but when connected to the PC it can function as
  transfer functions in the enhanced operating menu listed in          both a fax machine and a computer printer. The PC 14 has
  Table 2. The CPU20 may effect one or more of the extended            the software and the memory which the device 12 uses, at
  image transfer command options of the enhanced operating
  menu of the image transfer device 12 using the following             least partially, to perform the new function.
  procedure. The reader 18 (see FIG. 1) is operated by the               In this invention, the device 12 has internal menu features
  CPU20 to read an image disposed on sheet medium 100.                 as a stand alone unit, but when connected to the PC 14
  The CPU20 then downloads the image data from the reader         25   extended menu features are now accessible/visible on the
  18 to the computer processor 32C. In conjunction with this,          device control panel. The extended features disappear when
  the CPU 20 preferably also sends a signal to the computer            the device is disconnected from the PC 14. One means for
  processor 32C indicating which of the extended command               Sensing connection and disconnection between the PC 14
  options of the enhanced menu is to be performed. By way of           and the device 12 is be using a cable 36 with USB (universal
  example, the user may Select from the enhanced menu to               serial bus) connectors and “Plug & Play” polling. The
  operate the device 12 in the copier mode with collation of           internal menu features and possible Sub-menu options are
  copies (selection category VII in Table 2), and accordingly          listed in Table 1. The list of extended menu features which
  touches the appropriate command buttons on the touch                 can appear on the display of the device 12 when it is
  display 50. The CPU 20 recognizes activation of these                connected to the PC to become a fax/printer/copier with
  commands and sends a signal to the computer processor 32C       35   enhanced copier features is provided in Table 2. The
  indicating that collating function is to be performed. Upon          extended menu features are not accessible or even visible on
  receiving the image data downloaded by the CPU 20, the               the display of the device when it is not connected to the PC.
  computer processor 32C automatically manipulates the                    The computer 14 has Software to Send instruction Script to
  image data in a manner consistent with effecting the Selected        the device 12 when they are connected to each other to
  image transfer function identified by the Signal from the       40   display the extended menu features, and Software and
  CPU 20. Then, the computer processor 32C automatically               memory of the PC to help execute those extended features.
  Sends the now manipulated data back to the device 12                 This invention provides the advantage of the device having
  without user interaction. The CPU20 routes the manipulated           internal minimal memory and menu displays to reduce the
  data to the print head 28 of the device 12 for printing on           cost of the device, but uses or borrows the Software and
  sheet medium 102, or to the communication device 30. For        45   memory of the PC (without the user really knowing it, but
  example, in the case of the collating function mentioned             he could) and add new user selectable/accessible/viewable
  above, the computer processor 32C automatically Stores the           menu functions to the control panel display 50 of the device
  Series of imageS read by the reader 18 and then generates            12. In addition the PC 14 uploads a bitmap, Such as a logo,
  Sequential copies of the Series of images in order to form a         an extra menu Selection display feature for the bitmap, and
  collated Series of images in electronic form. This step is      50   coordinates for printing the bitmap on the paper. The upload
  performed by the processor 32C without user interaction to           would stay with the device 12 even if the PC 14 is discon
  create the collated images. Then, the computer processor             nected from the device. This provides the advantage of faster
  32C automatically sends each Series of images to the print           printing of the indicia because the device 12 does not have
  head 28 of the device 12 also without user interaction. Each         to go back to the PC 14 for the indicia each time it is to be
  Series of images received by the print head 28 is printed on    55   printed. Further variations of the indicia could be at the PC
  sheet medium 102 to form printed collated images. In the             14 and accessible by the menu display at the device 12 when
  case where the user chooses from the enhanced menu on                the device is connected to the PC. Thus, when connected to
  display 50 to add a fixed message to printed copies, the             the PC the user could select different variations of indicia
  computer processor 32C automatically merges the bitmap               such as selecting “Attorney-Client Privilege” (indicia 2)
  for the fixed message from the computer memory 3.4C with        60   rather than “CONFIDENTIAL DOCUMENT" (indicia 1).
  the image data downloaded from the reader 18 (see FIG. 1).             In this invention the extra menu functions can be Stored in
  The computer processor 32C automatically accesses the                the device and merely enabled for viewing on the display 50
  bitmap from the memory 34C and merges the bitmap with                of the device 12 when connected to the PC 14. When not
  the image data without user interaction. The manipulated             connected to the PC, the extra menu display of the features
  data is then automatically sent to the print head 28 without    65   would still be in the memory of the device, but not
  user interaction for printing the image and the fixed message        accessible/viewable by the user (because they would not be
  on sheet medium 102.                                                 able to be selected for use without connection to the PC).
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 18 of 20 PageID #: 24


                                                       US 6,891,633 B1
                               15                                                                     16
  There is insufficient memory in the multifunction device to                 type of the image transfer menu available for display on
  perform extended functions Such as collation, but because                   the display of the device wherein a first portion of the
  the multifunction device 12 in this invention is attached to                Second type of the image transfer menu is Stored in the
  the PC 14, the user can scan the information of the reader 18,              computer.
  send the Scanned data to the PC 14 to do the extended or          5      2. An electronic assembly in accordance with claim 1,
  enriched task, Such as collation and reformat the document             wherein the first image transfer device is at least one of a
  as a collated Set of prints, and Send the reformatted data and         copier, a fax machine, or a printer.
  new instructions bask to the multi-function (MF) device                  3. An electronic assembly in accordance with claim 1,
  print head 24. Initiation of the job takes place at the device,        wherein the first image transfer device includes a processor
  so the user need not know the PC is involved in the process.           for controlling operation of the device, a memory for Storing
  That is, the device 12 is “smart” enough to know it has extra          the first type of the image transfer menu, and a user interface
  capabilities because a PC 14 is attached to it. This involves          for accessing one of the types of image transfer menu
  interaction with new features/functions that become visible/           displayed on the display.
  available at the device when, on install, the device CPU 20               4. An electronic assembly in accordance with claim 3,
  Software “sees” a PC in the configuration, and those extra        15   wherein another portion of the Second type of the image
  capabilities will be available through the touch display 50 on         transfer menu is Stored in the memory of the first image
  the device. Extended feature buttons are embedded in an                transfer device, the processor being programmed to display
  LCDUI 50 on the device 12 that are visible and operational             on the display the first type of the image transfer menu when
  when the PC 14 is connected to the device.                             the computer is not connected to the first image transfer
     One of the Significant cost factors in the manufacture of           device, and wherein the computer has Software for enabling
  multi-function devices has been the cost of memory. In order           the processor of the device to display the Second type of
  to provide the multi-function devices of the prior art with the        menu on the display of the device when the computer is
  ability to perform extended functions, Such as collating,              connected to the first image transfer device.
  pagination, or addition of logos or messages, the size of the             5. An electronic assembly in accordance with claim 1,
  internal memory was increased with a resultant significant        25   wherein the Second type of the image transfer menu includes
  increase in the cost of the devices. To reduce the cost of the         expanded features for operating the image transfer device in
  devices in the prior art, the internal memory Size was cut             comparison to features of the first type of the image transfer
  which limited the capabilities of the low cost devices to                CU.

  performing only basic functions Such as mere copying or                   6. An electronic assembly in accordance with claim 1,
  faxing without any enhancement. In other words, in the prior           wherein the first type of the image transfer menu comprises
  art low cost meant Small memory, and hence, only basic                 a base Set of features including at least one of a feature for
  functions. One of the significant advantages of the present            Selecting a type of original, a feature for Selecting device
  invention is that it Solves the cost verSuS features conundrum         maintenance Settings, a feature for Selecting device default
  by borrowing the processing power and memory capacity of               Settings, or a feature for Selecting language Settings, and
  a PC 14 to extend and enhance the functions of the multi          35   wherein the Second type of the image transfer menu com
  function device 12. Thus, the present invention eliminates             prises an expanded Set of features, the expanded Set of
  the need for larger memory in the devices 12, thereby                  features including at least one of the features from the base
  allowing the cost of the devices 12 to remain Small in                 Set of features, and at least one extra feature not included in
  comparison to multi-function devices of the prior art which            the base Set of features.
  a capable of performing Similar extended or enhanced              40      7. An electronic assembly in accordance with claim 6,
  functions.                                                             wherein the image transfer device is a fax machine, and the
    It should be understood that the foregoing description is            extra feature is at least one of an extended phone log
  only illustrative of the invention. Various alternatives and           Selection feature, or a delayed transmission Selection feature.
  modifications can be devised by those skilled in the art                  8. An electronic assembly in accordance with claim 6,
                                                                    45   wherein the extra feature is at least one of a feature for
  without departing from the invention. Accordingly, the                 collating copies, a feature for adding a logo, a feature for
  present invention is intended to embrace all Such                      adding a message, a feature for adding page numbering, or
  alternatives, modifications and variances which fall within
  the Scope of the appended claims.                                      a feature for adding a watermark.
    What is claimed is:                                                     9. An electronic assembly in accordance with claim 1,
    1. An electronic assembly comprising;                           50   wherein the computer has Software for communicating with
    a first image transfer device for reading and transferring           the reader when the computer is connected to the reader and
       an image from a first medium, the first image transfer            for receiving data read by the reader, and wherein the
       device including a reader for reading the image on the            computer has Software for manipulating the data received
                                                                         from the reader in accordance with a feature of the Second
       first medium, and a display exclusively used by the          55   type of the image transfer menu.
       image transfer device for displaying an image transfer               10. An electronic assembly in accordance with claim 1,
       menu for effecting transfer of the image between the              wherein the image transfer device is adapted to transfer the
       first image transfer device and another image transfer            image to at least one of the computer connected to the image
       device; and                                                       transfer device, another computer located at first remote site,
    a computer removably connected, to the first image trans        60   or a printing device for printing the image on a Second
       fer device;                                                       medium at a first remote site.
    wherein when the first image transfer device is not                     11. An electronic assembly in accordance with claim 1,
      connected to the computer the first image transfer                 wherein the computer is adapted for Sending a polling Signal
      device has a first type of the image transfer menu                 to determine if to determine if the computer is connected to
      available for display on the display of the device, and       65   the image transfer device, and wherein when the polling
      wherein when the first image transfer device is con                Signal indicates that the computer is connected to the device,
      nected to the computer the transfer device has a Second            the computer uploads the Second type of menu to the device.
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 19 of 20 PageID #: 25


                                                     US 6,891,633 B1
                              17                                                                     18
    12. An electronic assembly comprising,                                18. A transfer apparatus in accordance with claim 14,
    an image transfer device for reading and transferring an           wherein the first menu has a predetermined number of
      image from a first medium, the image transfer device             features for operating the apparatus, and wherein the
      including a reader for reading the image on the first            extended features of the Second menu include at least one of
      medium, and a display exclusively used by the image              the features from the first menu, and at least one extra feature
      transfer device for displaying an image transfer menu            not included in the first menu.
      for effecting transfer of the image, and                           19. A method for transferring information from a first
    a computer removably connected to the image transfer               medium, the method comprising the Steps of:
       device;                                                           providing an image transfer device having a Scanner for
     wherein when the image transfer device is not connected                reading an image on the first medium;
       to the computer the image transfer device has a first             reading the image on the first medium with the Scanner;
       type of the image transfer menu available for display on          automatically uploading electronic data including at least
       the display of the device,                                           a portion of an image transfer menu to be displayed by
     and wherein when the image transfer device is connected                the image transfer device to the transfer device from a
       to the computer the transfer device has a Second type of   15        computer connected to the transfer device;
       the image transfer menu available for display on the              with a processor of the image transfer device, automati
       display of the device,                                               cally merging the electronic data with the image read
     and wherein at least a portion of the Second type of the               by the Scanner; and
       image transfer menu is Stored in the computer.                    transferring the merged image by the transfer device to a
     13. An electronic assembly in accordance with claim 12,                Second medium.
  wherein the processor is programmed to display on the                  20. A method in accordance with claim 19, wherein the
  display the first type of the image transfer menu when the           electronic data uploaded from the computer to the image
  computer is not connected to the image transfer device, and          transfer device stays with the image transfer device after the
  wherein the computer has Software for Sending information            computer is disconnected from the image transfer device.
  embodying the portion of the Second type of the image           25     21. A method for enhancing operating features of a
  transfer menu to the processor enabling the processor to             transfer device for transferring information from a first
  display the Second type of menu on the display of the device         medium to a Second medium, the method comprising the
  when the computer is connected to the image transfer                 Steps of
  device.                                                                 providing a first command menu Stored in a memory of
     14. A transfer apparatus having a reader for Scanning                  the transfer device, the first command menu represent
  information disposed on a first medium, and a controller                  ing a first Set of the operating features of the device, the
  connected to the reader, the transfer apparatus comprising:               first menu being available for display on a display of
    a connector connected to the controller for removably                   the device;
       connecting a computer to the transfer apparatus, and              connecting a computer to the transfer device; and
    a display connected to the controller for displaying menus    35     with the computer, enabling the device to display a Second
       comprising features for operating the transfer appara               command menu when the computer is connected to the
       tuS,                                                                device, the Second command menu representing a
    wherein the display displays a first one of the menus when             Second Set of the operating features of the device,
      the computer is not connected to the apparatus, and                  wherein the Second Set of operating features has at least
      wherein the display displays a Second one of the menus      40       one feature of the first Set of operating features and
      when the computer is connected to the apparatus, the                 expanded operating features in comparison to the first
      Second menu comprising at least one feature of the first             Set of operating features of the device, and wherein a
      one of the menus and extended features for operating                 portion of the Second command menu is Stored on the
      the apparatus in comparison to the first menu,                        computer.
    and wherein when the computer is connected to the             45     22. A method in accordance with claim 21, further com
      apparatus the controller receives instructions from the          prising the Step of Storing the Second menu in the memory
      computer that program the controller to load the Second          of the transfer device.
       one of the menus.                                                 23. A method in accordance with claim 21, wherein the
     15. A transfer apparatus in accordance with claim 14,             first menu has commands corresponding to the operating
  wherein the apparatus further comprises a memory for            50   features in the first Set of operating features, the first menu
  Storing the first menu, and wherein the controller is pro            commands including at least one of a command for Selecting
  grammed to display the first menu on the display of the              a type of original, for Selecting device maintenance Settings,
  apparatus when the computer is not connected to the appa             for Selecting device default Settings, or for Selecting a
  ratuS.                                                               display language Setting.
     16. A transfer apparatus in accordance with claim 15,        55     24. A method in accordance with claim 21, wherein the
  wherein the Second menu is Stored in the memory of the               Second Set the operating features includes at least one of the
  apparatus, and wherein the controller receives instructions          operating features in the first Set of the operating features,
  from the computer enabling the controller to display the             and wherein the Second Set of the operating features further
  Second menu on the display of the apparatus when the                 includes at least one of an extended phone log feature, a
  computer is connected to the apparatus.                         60   delayed transmission Selection feature, a collating feature, a
     17. A transfer apparatus in accordance with claim 14,             message addition feature, a logo addition feature, a page
  wherein the controller receives instructions from the com            numbering feature, or a watermark addition feature.
  puter embodying at least a portion of the Second menu stored           25. A method for enhancing operating features of a
  in the computer, and wherein the instructions received from          transfer device for transferring information from a first
  the computer enable the controller to display the Second        65   medium to a Second medium, the method comprising:
  menu on the display of the apparatus when the computer is               providing a first command menu Stored in a memory of
  connected to the apparatus.                                               the transfer device, the first command menu represent
Case 1:19-cv-01402-MN-CJB Document 1-1 Filed 07/28/19 Page 20 of 20 PageID #: 26


                                                 US 6,891,633 B1
                            19                                                              20
     ing a first Set of the operating features of the device, the expanded operating features in comparison to the first
     first menu being available for display on a display of       Set of operating features of the device, and wherein at
     the device                                                   least a portion of the Second menu is Stored in a
   connecting a computer to the transfer device; and              memory of the computer.
   with the computer, Sending instructions that program the 5 26. A method in accordance with claim 25, where in the
     device enabling the device to load and display a Second Step of enabling comprises Sending information from the
     command menu when the computer is connected to the computer to the device, which information embodies the
     device, the Second command menu representing a portion of the Second menu stored in the computer.
     Second Set of the operating features of the device,
     wherein the Second Set of operating features has                               k   .    .   .   .
